

People ex rel. Shanahan v LaRocco (2025 NY Slip Op 02299)





People ex rel. Shanahan v LaRocco


2025 NY Slip Op 02299


Decided on April 22, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
LINDA CHRISTOPHER
LILLIAN WAN
JANICE A. TAYLOR, JJ.


2025-04162

[*1]The People of the State of New York, ex rel. William D. Shanahan, on behalf of Brayon Pineda, petitioner,
vAnthony J. LaRocco, etc., et al., respondents.


Anne T. Donnelly, District Attorney, Mineola, NY (John Latella and Stefanie M. Palma of counsel), for respondents.
William D. Shanahan, Mineola, NY, petitioner pro se.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Brayon Pineda upon his own recognizance or, in the alternative, to set reasonable bail upon Nassau County Indictment No. 70792/2025.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Nassau County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
BARROS, J.P., CHRISTOPHER, WAN and TAYLOR, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








